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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE QSJULlB AH,G:EB
WESTERN DIVISION

 

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PRODUCTS, INC.
Plaintiff,
VS.

No. 04-2617 Ma/V

PENNSYLVANIA MANUFACTURERS'
ASSOCIATION INSURANCE COMPANY,

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Defendant.

 

ORDER GRANTING IN PART AND DENYING IN PART
PLAINTIFF'S MOTION TO COMPEL

 

Before the court is the June 13, 2005 motion of the plaintiff,
Mueller Copper Tube Products, Inc. (“Mueller”), requesting that the
court order the defendant, Pennsylvania Manufacturers' Association
Insurance Company (“PMA”), to fully produce answers to plaintiff's
First Set of Interrogatories Nos. 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
ll, 12, and 13 and plaintiff's First Request for Production of
Documents Nos. 2, 3, 4, 6. Mueller also seeks expenses and fees
pursuant to Rule 37(a)(4)(A) for bringing the motion to compel.
This motion has been referred to the United States Magistrate Judge
for determination. For the following reasons, the motion is
granted in part and denied in part.

BACKGROUND

In 1999, Mueller was named as a defendant in a lawsuit brought

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pursuant to the Comprehensive Environmental Response Compensation
and Liability Act, 42 U.S.C. § 9601, et seq. In that case, the
plaintiffs alleged that Mueller was liable for clean-up costs for
two hazardous waste sites located in Eastern Arkansas. The case was
settled by Mueller in December of 2004.

In the present case, Mueller is seeking a declaratory
judgment/insurance coverage for the expenses incurred in the
underlying lawsuit from PMA. Mueller claims that PMA is required
to provide coverage, including a defense, for all claims asserted
against Mueller pursuant to insurance policies issued between 1967
and 1977 by PMA to Halstead Industries, Inc., which was acquired
later by Mueller. Mueller contends that the insurance policies
provide coverage for property damage and each contains a “duty to
defend” clause. PMA has denied coverage and has asserted fourteen
affirmative defenses, partly based on its interpretation of the
insurance policies at issue in this case.

On January 21, 2005, Mueller served PMA with its first set of
interrogatories and first request for production of documents. In
its requests, Mueller asked that PMA provide certain facts
regarding the applicable insurance policies. It also requested
that PMA identify the provisions in the insurance policies for
which it has relied upon in denying coverage and asserting its

affirmative defenses.

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After Mueller agreed to an extension of time for PMA to
respond, PMA served its responses to the discovery requests on
April 4, 2005. According to Mueller, the responses were “grossly
deficient, providing no information whatsoever.” After
consultation between counsel for both parties, PMA presented a
“corrected" version of its responses to Mueller. Again, Mueller
felt as if the materials it had received from PMA was completely
non-responsive. After further discussions, PMA agreed to provide
complete and proper discovery responses by May 3, 2005. On May 3,
2005, Mueller did not receive any supplemental discovery responses.
Instead, Mueller received a letter from opposing counsel explaining
one of its affirmative defenses. After a final request for proper
responses, Mueller received nothing.

On June 13, 2005, Mueller filed this motion to compel
demanding that PMA fully and completely respond to its First Set of
Interrogatories Nos. 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, ll, 12, and 13
and its First Request for Production of Documents Nos. 2, 3, 4, 6.
PMA filed a timely response objecting to Mueller's demands.

ANALYSIS

I. INTERROGATORIES

 

Interrogatories.No. 2, 3l 4, 5, 6, 7, 8, 9, 10, and ll seek
information in regard to the affirmative defenses asserted by PMA.

PMA initially responded to several of these requests by objecting

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that the “interrogatory is premature in that discovery has only
commenced and the above interrogatory seeks information that may'be
subject to expert proof." Since that time, PMA avers that it has
supplemented its interrogatory responses with the expert report of
Robert W. Lazarus. (Def.’s Resp. to Pla.’s Mot. to Compel, Ex. 1.)
Mueller did not mention the export report in its motion and the
court is unclear as to when this report was delivered to Mueller.
From\ a review of the report, the court has determined that
information present in the report is non-responsive to
Interrogatories No. 2, 3, 4, 5, 6, 8, 9, 10, ll. The court finds,
however, that the expert report.r along with PMA's letter dated May
3, 2005, specifically' address Interrogatory' No. 7. As such,
Mueller's motion to compel in regard to Interrogatory No. 7 is
denied, without prejudice.

PMA also contends that pursuant to Federal Rule of Civil
Procedure 33(d) it has adequately responded to Mueller's requests
simply by producing the insurance policies at issue. Federal Rule
of Civil Procedure 33(d) states as follows:

(d) Option to Produce Business Records.

Where the answer to an interrogatory may be derived or

ascertained from the business records of the party upon

whom the interrogatory has been served or from an
examination, audit or inspection of such business
records, . . . and the burden of deriving or ascertaining

th answer is.substantially the same for the party served.r

it is a sufficient answer to such interrogatory to
specify the records from which the answer may be derived

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or ascertained and to afford the party' serving the

interrogatory reasonable opportunity to examine, audit,

or inspect such records . . .

Federal Rule of Civil Procedure 33(d). However, the policies
produced by PMA are non-responsive on their face to Interrogatories
No. 2, 5, 6, 9. These requests ask for facts known to PMA
concerning actions taken by Mueller in connection with the
underlying lawsuit. It is undeniable that the polices do not
contain facts within the knowledge of PMA officials and/or counsel
for PMA. Accordingly, Mueller motion to compel responses to these
interrogatories is granted.

In regard to Interrogatories No. 3, 4, 8l 10, and ll,
Mueller's motion to compel is also granted. Again, PMA relies on
Rule 33(d) for the proposition that it has properly responded to
discovery requests. The court finds that Rule 33(d) does not apply
in this situation. These interrogatories are designed to elicit
information regarding affirmative defenses that have been asserted
by PMA. Each interrogatory requests that PMA identify the specific
provision in the insurance policy for which it has based its
affirmative defenses. Because PMA is asserting an affirmative
defense, it is in the best position to know what provision in the
policies allows it to do so, and it undoubtedly referred to these
specific provisions before raising affirmative defenses to

Mueller’s complaint. The burden of deriving or ascertaining the

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answer to Mueller's interrogatory is not substantially the same for
Mueller as it is for PMA as is required by Rule 33(d).
Accordinglyy PMA is ordered to provide Mueller with complete
responses to Interrogatories No. 3, 4, B, 10, and 11, citing to
specific provisions of the insurance policies in order to satisfy
Mueller’s requests.

Interrogatory No. 1 requests that PMA identify the reasons for
its denial of Mueller's claim under the policies. The court has
reviewed the letter dated May 3, 2005, written by counsel for PMA,
Robert J. King, and finds that the letter is responsive to
Interrogatory No. 1. (Def.'s Resp. to Pla.’s Mot. to Compel, Ex.
2). The letter provides PMA's reasons for denying Mueller's claim
and cites portions of the policies for which PMA relies.
Nevertheless, this letter does not formally supplement the
interrogatory answers. The court orders that PMA formally respond
to Interrogatory No. 1 in a sworn answer restating the information
that has been provided in the May 3, 2005 letter.

Interrogatory No. 12 requests that PMA identify the “limit on
Property Damage Liability for ‘each occurrence'” and “the
‘aggregate' limit on Property Damage Liability." PMA contends that
it has properly answered this interrogatory pursuant to Federal
Rule 33(d) by specifying that the answer can be derived from the

policies that have been delivered to Mueller. In this situationl

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the court agrees. It appears to the court that the burden of
ascertaining the answer to Interrogatory No. 12 from the policies
is substantially the same. Nothing would indicate otherwise.
Therefore, Mueller’s motion to compel in regard to Interrogatory
No. 12 is denied.

Finally, in regard to Interrogatory No. 13, Mueller's motion
is granted. Interrogatory No. 13 requests that PMA state whether
attorneys' fees incurred in defending a suit for which it has a
duty to defend under each policy are deducted from the insurance
proceeds. PMA's response to this interrogatory' was that the
“interrogatory is premature in that discovery has only commenced
and the above interrogatory seeks information that may be subject
to expert proof.” The court is unable to determine how this
interrogatory is premature or subject to expert proof.
Accordingly, PMA is ordered to respond fully and completely to
Interrogatory 13.

In sum, Mueller's motion to compel is granted in regard to
Interrogatories No. 2, 3, 4, 5, 6, 8, 9, 10, 11, and 13. PMA is
directed to respond to these interrogatories in accordance with
this order within fifteen (15) days from the date of entry of this
order. The motion to compel is denied as to Interrogatory 1, 7,
and 12. However, PMA is ordered to provide a sworn statement

detailing its answer to Interrogatory No. 1 at the same time its

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answers to the other interrogatories are due.
II. REQUESTS FOR DOCUMENTS

Mueller also insists that PMA’s responses to its requests for
documents No. 2, 3, 4, and 6 are deficient. These requests seek
all documents referring or relating to Halstead, Mueller or Mueller
Industries, Inc.; documents that refer or relate to any facility or
property ever owned by the same; documents that refer or relate to
the underlying litigation, and documents that support or relate to
any affirmative defense asserted.by PMA, respectively. PMA objects
to such requests on the basis that they are “overly broad, all
encompassing, unduly burdensome;” call for material protected by
the attorney-client privilege or protected by attorney work
product; and are not “reasonably designed to lead to the discovery
of admissible evidence.”

PMA, however, has failed to demonstrate how the requests for
production of these documents is overly broad, all encompassing, or
unduly burdensome. PMA has also failed to show the court that
these requests are not reasonably designed to lead to the discovery
of admissible evidence. What the court is left with is nmre
conclusory statements by PMA that this is truly the situation. On
that alone, the court cannot accept PMA's contentions.

As for PMA's objection that the certain requested documents

are attorney-client privileged or attorney work product, Mueller

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concedes that PMA is not required to produce such material;
however, Mueller correctly states that PMA must produce a privilege
log for such documents. PMA maintains however that it is not
required to produce a privilege log. Federal Rule of Civil
Procedure 26(b) (5) states that when information is withheld on a
claim of privilege or as protected trial preparation materials,
then the claim must be made “expressly and shall describe the
nature of the documents, communications, or things not produced or
disclosed in a manner that, without revealing information itself
privileged or protected, will enable other parties to assess the
applicability of the privilege or protection.” FED. R. CIv. P.
26(b)(5). Thus, pursuant to Rule 26(b)(5), PM.A is ordered to
produce a privilege log for the documents it claims are attorney-
client privileged or attorney work product. This will allow
Mueller to evaluate the applicability of the claimed privilege or
protection.

Accordingly, PMA is ordered to produce documents that are
responsive to request No. 2, 3, 4, and 6 within fifteen days from
the date of this order. For those documents that PMA claims a
privilege, PM.A is directed to produce a privilege log in accordance
with Federal Rule of Civil Procedure 26(b) (5) within fifteen days
from the date of this order.

III . SANCTIONS

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Mueller also requests reasonable expenses including
attorneys's fees, pursuant to Rule 37 of the Federal Rules of Civil
Procedure. Rule 37 provides that if a motion to compel is granted:

“the court shall . . . require the party or deponent

whose conduct necessitated the motion or the party or

attorney advising such conduct or both of them to pay to

the nmving party the reasonable expenses incurred in

making the motion, including attorneys fees, unless the

court finds that the motion was filed without the
movant's first making a good faith effort to obtain the
disclosure or discovery without court actionl or that the
opposing party's non-disclosure, response or objection

was substantially justified, or that other circumstances
make an award of expenses unjust.”

Fed. R. Civ. P. 37(a)(4)(A). PMA was substantially justified in
interposing certain objections to the requests for production and
interrogatories, and sanctions, therefore, would be improper.
While Mueller has been successful in part of this nmtion, it
appears that PMA acted in good faith in attempting to negotiate a
narrowing of the scope of discovery with Mueller. Accordingly, no
sanctions are ordered at this time, and each party shall bear its
own costs.
C_QMLSM

For the reasons stated above, Mueller's motion to compel is
granted as to Interrogatory No. 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, and
13 and to Request for Documents No. 2, 3, 4, and 6. The motion is
denied as to Interrogatories 1l 7, and 12. Furthermore, PMA is

directed to provide responses to these interrogatories and requests

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for documents and a privilege log within fifteen (15) days of the
date of this order. Mueller’s motion for sanctions is denied.

IT IS SO ORDERED this 15th day of July, 2005.

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DIANE K. VESCOVO
U'NITED STATES MAGISTRATE JUDGE

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July ]8, 2005 to the parties listed.

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Honorable Samuel Mays
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